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13
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15                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
16
17
      IN RE: ROUNDUP PRODUCTS LIABILITY            MDL No. 2741
18    LITIGATION
                                                   Case No. 16-md-02741-VC
19
      This document relates to:                    DECLARATION OF JEFFREY
20                                                 TRAVERS IN SUPPORT OF
                                                   PLAINTIFFS’ CO-LEAD
21                                                 COUNSEL’S MOTION TO AMEND
22                                                 PRE-TRIAL ORDER 12:
                                                   COMMON BENEFIT FUND
23                                                 ORDER TO ESTABLISH A HOLD
                                                   BACK PERCENTAGE
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                    TRAVERS DECL. IN SUPPORT OF MOTION TO AMEND PTO 12
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 1
      DECLARATION OF JEFFREY TRAVERS IN SUPPORT OF PLAINTIFFS’ CO-LEAD
 2     COUNSEL’S MOTION TO AMEND PRE-TRIAL ORDER 12: COMMON BENEFIT
      FUND ORDER TO ESTABLISH A HOLD BACK PERCENTAGE DECLARATION OF
 3                          JEFFREY A. TRAVERS

 4           I, Jeffrey Travers, declare and state:

 5           1.     I am an attorney at law admitted to practice before all of the courts in the state of

 6   Virginia. I am an attorney at The Miller Firm, LLC, attorneys of record for Plaintiffs. I am over

 7   eighteen years of age and am fully competent to make this Declaration in support. I have personal

 8   knowledge of the facts stated in this declaration, and if called to testify, I could and would
 9   competently testify to the matters stated herein.
10           2.     Attached hereto as Exhibit 1 is a true and correct copy of the Common Benefit
11   Holdback Order in In Re: Depuy Orthopaedics, Inc. Pinnacle Hip Implant Product Liability
12   Litigation, MDL 2244.
13           3.     Attached hereto as Exhibit 1A is a true and correct copy of the Interim Common
14   Benefit Holdback Order in In Re: Depuy Orthopaedics, Inc. Pinnacle Hip Implant Product
15   Liability Litigation, MDL 2244.
16           4.     Attached hereto as Exhibit 2 is a true and correct copy of the Common Benefit
17   Holdback Order in In re: JUUL Labs, Inc., Marketing, Sales Practices, and Products Liability
18   Litigation, 19-md-02913.
19           5.     Attached hereto as Exhibit 3 is a true and correct copy of the Common Benefit Fee
20   Award in In re Xarelto (Rivaroxaban) Products Liability Litigation, MDL 2592.
21           6.     Attached hereto as Exhibit 4 is a true and correct copy of the Common Benefit
22   Holdback Order in In re Lidoderm Antitrust Litigation, 14-md-02521.
23           7.     Attached hereto as Exhibit 5 is a true and correct copy of the Common Benefit
24   Holdback Order in In re Bair Hugger Forced Air Warming Products Liab. Litig., MDL 2666.
25           8.     Attached hereto as Exhibit 6 is a true and correct copy of the Common Benefit
26   Holdback Order in In re Ethicon, Inc., Power Morcellator Products Liability Litigation, 2:15-md-
27   2652.
28


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                     TRAVERS DECL. IN SUPPORT OF MOTION TO AMEND PTO 12
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           Case 3:16-md-02741-VC Document 12377-1 Filed 01/11/21 Page 3 of 4



 1
              9.     Attached hereto as Exhibit 7 is a true and correct copy of the Common Benefit
 2
     Holdback Order in In Re Cook Medical, Inc., IVC Filters Marketing, Sales Practices and Product
 3
     Liability Litigation, 1:14-ml-2570.
 4
              10.    Attached hereto as Exhibit 8 is a true and correct copy of the Common Benefit
 5
     Holdback Order in In Re Actos (Pioglitazone) Products Liability Litigation, 6:11-md-2299.
 6
              11.    Attached hereto as Exhibit 9 is a true and correct copy of the Common Benefit
 7
     Holdback Order in In Re Bard IVC Filters Products Liability Litigation, 2:15-md-02641.
 8
              12.    Attached hereto as Exhibit 10 is a true and correct copy of the Common Benefit
 9
     Holdback Order in In Re Fresenius Granuflo/Naturalyte Dialysate Products Liability Litigation,
10
     1:13-md-2428.
11
              13.    Attached hereto as Exhibit 11 is a true and correct copy of the Common Benefit
12
     Holdback Order in In Re Risperdal and Invega Products Liability Litigation, JCCP 4775.
13
              14.    Attached hereto as Exhibit 12 is a true and correct copy of the Common Benefit
14
     Holdback Order in In Re Testosterone Replacement Therapy Products Liability Litigation, 1:14-
15
     cv-1748.
16
              15.    Attached hereto as Exhibit 13 is a true and correct copy of the Common Benefit
17
     Holdback Order in In Re New England Compounding Pharmacy, Inc. Products Liability
18
     Litigation, 1:13-md-02419.
19
              16.    Attached hereto as Exhibit 14 is a true and correct copy of the Common Benefit
20
     Holdback Order in In Re Stryker Rejuvenate and ABG II Hip Implant Products Liability Litigation,
21
     13-md-2441.
22
              17.    Attached hereto as Exhibit 15 is a true and correct copy of the Common Benefit
23
     Holdback Order in In Re Toyota Motor Corp. Untended Acceleration Marketing, Sales Practices
24
     and Products Liability Litigation, 8:10-ml-02151.
25
              18.    Attached hereto as Exhibit 16 is a true and correct copy of the Common Benefit
26
     Holdback Order in In Re Zimmer Nexgen Knee Implant Products Liability Litigation, 1:11-cv-
27
     05468.
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                     TRAVERS DECL. IN SUPPORT OF MOTION TO AMEND PTO 12
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           Case 3:16-md-02741-VC Document 12377-1 Filed 01/11/21 Page 4 of 4



 1
            19.      Attached hereto as Exhibit 17 is a true and correct copy of the Common Benefit
 2
     Holdback Order in In Re Wright Medical Technology Inc., Conserve Hip Implant Products
 3
     Liability Litigation, 1:12-md-2329.
 4
 5
            20.      Attached hereto as Exhibit 18 is a true and correct copy of the Common Benefit
 6
     Holdback Order in In Re Nuvaring Products Liability Litigation, 4:08-md-01964.
 7
            21.      Attached hereto as Exhibit 19 is a true and correct copy of the Common Benefit
 8
     Holdback Order in In Re Vioxx Products Liaiblity Litigation, 2:05-md-01657.
 9
            22.      Attached hereto as Exhibit 20 is a true and correct copy of the Common Benefit
10
     Holdback Order in In Re Yasmin and Yaz (Drospirenone) Marketing, Sales Practices and Relevent
11
     Products Liability Litigation, 3:09-md-2100.
12
            23.      Attached hereto as Exhibit 21 is a true and correct copy of the Common Benefit
13
     Holdback Order in In Re Kugel Mesh Hernia Patch Products Liaibility Litigation, 1:07-md-1842.
14
            24.      Attached hereto as Exhibit 22 is a true and correct copy of the Common Benefit
15
     Holdback Order in In Re Avandia Marketing, Sales Practices and Products Liaiblity Litigation,
16
     2:07-md-1871.
17
            25.      Attached hereto as Exhibit 23 is a true and correct copy of the Common Benefit
18
     Holdback Order in In Re Bextra and Celebrex Marketing Sales and Practices and Product Liability
19
     Litigation, 3:06-md-1699.
20
            26.      Attached hereto as Exhibit 24 is a true and correct copy of the Common Benefit
21
     Holdback Order in In Re Ethicon Physiomesh Flexible Composite Hernia Mesh Products Liability
22
     Litigation, 1:17-md-02782.
23
24
      Dated: January 11, 2021                       By: /s/ Jeffrey A. Travers
25
                                                        Jeffrey A. Travers
26
                                                        Declarant
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     ________________________________________________________________
                     TRAVERS DECL. IN SUPPORT OF MOTION TO AMEND PTO 12
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